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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

THE MAYA GROUP, INC.,

       Plaintiff,                                         Case No.: 1:19-cv-04690

v.                                                        Judge Robert M. Dow, Jr.

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

 Complaint:

               NO.                              DEFENDANT
                23                    上海碧岚藤网络信息技术有限公司

 DATED: September 4, 2019                            Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
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                                                     ATTORNEY FOR PLAINTIFF
   Case: 1:19-cv-04690 Document #: 26 Filed: 09/04/19 Page 2 of 2 PageID #:1907




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 4, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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